Case 19-34054-sgj11 Doc 4257-1 Filed 06/20/25 Entered 06/20/25 23:00:44       Desc
       Exhibit 1 - Charitable DAF/CLO HoldCo Organization Chart Page 1 of 2



                                  EXHIBIT 1
    Case
     Case19-34054-sgj11
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EXHIBIT 1



                                                              Charitable DAF/CLO HoldCo
                                                                    Structure Chart


                                                                                Greater Kansas City              Santa Barbara
                                              The Dallas Foundation                                                                       The Community Foundation
                                                                              Community Foundation                Foundation
                                                   (Community                                                                                 of North Texas (CFNT)
                                                                                   (Community                     (Community
                                                   Foundation)                                                                              (Community Foundation)
                                                                                   Foundation)                    Foundation)

                                                            100%                             100%                        100%                          100%

                                                   Highland Dallas             Highland Kansas City                                               HCMLP
                  Mark Patrick                                                                               Highland Santa Barbara
                                                   Foundation, Inc.                                                                              Charitable
                  (Managing                                                      Foundation, Inc.                Foundation, Inc.
                                                    (Sponsor and                                                                                   Fund
                   Member)                                                    (Sponsor and Supporting        (Sponsor and Supporting
                                                     Supporting                                                                                     (DAF
                                                                                   Organization)                  Organization)
                                                    Organization)                                                                                 Account)
                                 100%                                                        32.78%                                                    1.639%
              100%                                            32.78%                                                      32.78%
                                 Management                                                  Participation                                             Participation
                                                              Participation                                               Participation
                                 Shares                                                      Shares                                                    Shares
                                                              Shares                                                      Shares

        Charitable DAF GP, LLC                                                               Charitable DAF HoldCo, Ltd.
                    (Delaware)                                                                (Cayman Islands) (Corporate Blocker)

                                     0% GP                                         100% LP



                                                        Charitable DAF Fund, L.P.
                                                            (Cayman Islands) (Hedge Fund)

                                                                                  100%


                                                               CLO HoldCo, Ltd.
                                                        (Cayman Islands) (Corporate Blocker)




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